284 F.2d 523
    UNITED STATES of America, Appellee,v.James Michael COSIDENTE, Appellant.
    No. 155.
    Docket 26404.
    United States Court of Appeals Second Circuit.
    Argued November 16, 1960.
    Decided December 8, 1960.
    
      Nathan S. Jaffe, New York City, for appellant.
      Daniel P. Hollman, Asst. U. S. Atty., Southern District of New York, Brooklyn, N. Y. (S. Hazard Gillespie, Jr., U. S. Atty., and David Klingsberg, Asst. U. S. Atty., New York City, on the brief), for appellee.
      Before LUMBARD, Chief Judge, and WATERMAN and MOORE, Circuit Judges.
      PER CURIAM.
    
    
      1
      We affirm the defendant's conviction on three counts for attempting to pass counterfeit money and possessing the same with intent to defraud in violation of 18 U.S.C. § 472. The evidence against him was overwhelming. We find no error in the court's rulings on the admission of evidence; and, in particular, in denying the motion, belatedly made at trial, to suppress the evidence taken from the defendant's person after his lawful arrest as he was leaving a liquor store where he had just attempted to pass a $100 counterfeit bill.
    
    
      2
      There is no substance to the claim of prejudice by reason of the government allegedly exhibiting to the jury a photograph of the defendant. In the first place, the record does not show that the photograph was visible to the jury. Moreover there is no reason to believe, as the appellant argues, that the photograph was one which would have been thought by anyone seeing it to be a "rogue's gallery" picture with an implication that the defendant had a criminal record.
    
    
      3
      Affirmed.
    
    